                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:03-CR-231-2


UNITED STATES OF AMERICA            )
                                    )
                                    )
v.                                  )                        ORDER
                                    )
                                    )
ENRIQUE BARRAGAN CONTRERAS )
                                    )
____________________________________)

       THIS MATTER comes before this Court upon the Defendant’s Motion to Void

Presentence Report Erroneous Advice to Induce Acceptance of Plea Agreement, (file doc. 463).

The Court has received Defendant’s Motion and considered the issues presented by the Motion.

After full consideration, the Court will DENY this Motion.




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                         Signed: October 25, 2005




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